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                                 United States District Court
                               for the Southern District of Ohio
                                    Eastern Division at Columbus

John Doe,
                      Plaintiff,                                     Case No. 2:19-cv-1054

                                                     v.           Chief Judge Edmund A.Sargus
                                                            Magistrate Judge Chelsey M. Vascura
The Ohio State University et al.,

                      Defendant.


                                    NOTICE OF DEFICIENCY

March 22, 2019

The Court’s docket reflects the filing of two motions for leave to appear pro hac vice in this case
(ECF 6 & 7). S.D. Ohio Civ. R. 83.3(e) governs motions for leave to appear pro hac vice and
states in part:
 “The motion shall (1) be signed by a permanent member of the bar of this Court; (2) be
 accompanied by the filing fee prescribed by the Court for pro hac vice admission except
 as provided in subsection (g)(4) of this Rule; and (3) be accompanied by an original
 certificate of good standing from the highest court of a State (and not from another federal
 court) that has been issued not more than three months prior to the date of the motion. If
 the attorney seeking pro hac vice admission is eligible for permanent admission to the bar
 of this Court, the motion shall also be accompanied by a written affirmation signed by the
 attorney that he or she will seek permanent admission as promptly as is practicable.”
The motions does not comply with Local Rule 83.3 for the following reason(s):

☐ The motion is not signed by a permanent member of the bar of this Court.

☐ The motion is not accompanied by the required filing fee.

☒ The motions do not contain the required certificate of good standing.
      ☐ The submitted certificate is not from the highest court of a State.
      ☐ The submitted certificate was issued more than three months ago.

☐ The motion was filed by an attorney who is eligible for permanent admission and does not
  contain a written affirmation that he or she will seek permanent admission as promptly as is
  practicable.

☐ Other:
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Please resubmit the motion in proper form within 14 days.
